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                                    THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                       )
             In re:                                                    )    Chapter 7
                                                                       )
             ELECTRIC LAST MILE SOLUTIONS, INC.,1                      )    Case No. 22-10537 (MFW)
                                                                       )
                          Debtor.                                      )
                                                                       )
                                                                       )
                                                                       )
             In re:                                                    )    Chapter 7
                                                                       )
             ELECTRIC LAST MILE, INC.,                                 )    Case No. 22-10538 (MFW)
                                                                       )
                          Debtor.                                      )
                                                                       )

                      THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

                   These Global Notes regarding the above-captioned debtors and debtors in
     possession (collectively, the “Debtors”) Schedules of Assets and Liabilities (the “Schedules”) and
     Statements of Financial Affairs (the “SOFAs”) comprise an integral part of the Schedules and
     SOFAs and should be referred to and considered in connection with any review of them

     1.       The Debtors prepared these unaudited Schedules of Assets and Liabilities (the “Schedules”) and
              Statements of Financial Affairs (the “SOFAs”) pursuant to section 521 of title 11 of the United
              States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
              Procedure. Except where otherwise noted, the information provided herein is presented as of the
              beginning of business on April 30, 2022.

     2.       While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
              accurate and complete based upon information that was available to them at the time of preparation,
              inadvertent errors or omissions may exist and the subsequent receipt of information and/or further
              review and analysis of the Debtors’ books and records may result in changes to financial data and
              other information contained in the Schedules and SOFAs. Moreover, because the Schedules and
              SOFAs contain unaudited information, which is subject to further review and potential adjustment,
              there can be no assurance that the Schedules and SOFAs are complete or accurate.

     3.       In reviewing and signing the Schedules and SOFAs, Robert Song, the duly authorized and
              designated representative of the Debtors (the “Designated Representative”), has necessarily relied
              upon the prior efforts, statements and representations of other employees, personnel, and

     1
       The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Electric Last Mile Solutions, Inc. (8711), and Electric Last Mile, Inc. (0357). The
     Debtors’ principal place of business is 1055 W Square Lake Road, Troy, Michigan 48098.
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             professionals of the Debtors. The Designated Representative has not (and could not have)
             personally verified the accuracy of each such statement and representation that collectively provide
             the information presented in the Schedules and SOFAs, including but not limited to, statements and
             representations concerning amounts owed to creditors and their addresses.

     4.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     5.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances.

     6.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” or to similar
             effect. Accordingly, for this and other reasons the Schedules may not fully reflect the aggregate
             amount of the Debtors’ assets and liabilities.

     7.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Fed. R. Bankr. P. 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     8.      Given the differences between the information requested in the Schedules and the financial
             information utilized under generally accepted accounting principles in the United States (“GAAP”),
             the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
             the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     9.      With respect to Schedule A/B, question 3, the account balances are as of June 13, 2022 and include
             18,146,717.98 of restricted cash that collateralizes the Promissory Note disclosed in Schedule D



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     10. With respect to Schedule A/B, questions 6-7, the retainer amounts paid by the Debtors to their
         bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt basis, do
         not constitute an interest of the Debtors in property and are thus not listed in response to Schedule
         B, questions 6-7. This amount is listed in response to SOFA question 11.

     11. With respect to Schedule A/B, questions 6-8, certain payments disclosed may not be reimbursable
         to the Debtors due to potential counterclaims against the Debtors or other potential offsetting
         obligations.

     12. With respect to Schedule A/B, question 72, the Debtors are not currently owed any tax refunds.
         The Debtors are uncertain whether they will retain any net operating losses for preceding tax years,
         but have listed their current net operating losses.

     13. With respect to Schedule E/F, part 1, the Debtors believe that they are current on all tax obligations.
         Certain amounts that may have accrued, but are not yet due and owing, have been omitted. Certain
         unliquidated and contingent claims against the Debtors may exist in connection with the findings of
         a special committee investigation, as disclosed in a Form 8-K filed on January 26, 2022, which are
         not captured herein.

     14. With respect to Schedule E/F, parts 1 and 2, and in connection with NASDAQ/SEC compliance
         issues resulting from the findings of a special committee investigation, the Debtors did not deliver
         Restricted Stock Units (RSUs) to individuals that received 2021 Restricted Stock Unit Award
         Agreements. Under those agreements, RSUs vested on January 2, 2022 and March 21, 2022 and
         were to be delivered 2.5 months after they vested. Potential claims resulting from this activity were
         not included in Schedule E/F.

     15. With respect to Schedule E/F, part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of June 13, 2022. The Debtors are unable to state with certainty the dates that
         such debts were incurred, and accordingly, the Debtors have not listed the dates that such debts
         were incurred. The Debtors will, however, provide the chapter 7 trustee with the most recent aging
         report available.

     16. With respect to Schedule G, although effort was made to ensure the accuracy of Schedule G,
         inadvertent errors or omissions may have occurred. While All contracts identified were included in
         the Schedule G filing for the Electric Last Mile, Inc. operating entity, certain contracts listed may
         be with the parent entity, Electric Last Mile Solutions, Inc. While the Debtors attempted to
         individually disclose written contracts or agreements with current and former executives, potential
         verbal and/or written agreements with non-executive employees (such as offer letters,
         confidentiality and retention arrangements) were not individually disclosed.

     17. With respect to Schedule G, the employment agreements referenced in the disclosure are intended
         to capture all potential agreements and respective obligations, including, but not limited to,
         indemnification, confidentiality, inventions, and non-solicitation, if applicable.

     18. With respect to SOFA questions 3-4, applicable cash disbursements made through June 14, 2022
         were captured in the disclosure.


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     19. With respect to SOFA questions 3-4, certain payment dates disclosed (particularly those listed with
         the last day of a particular month) are as of the date the disbursement was posted in the Debtors’
         general ledger rather than specific disbursement date. The Debtors have bank statements available
         to assist in a full reconciliation between posting date and disbursement date.

     20. With respect to SOFA question 7, all legal matters were disclosed in the SOFA for the parent
         entity, Electric Last Mile Solutions, Inc. It is possible that the operating entity, Electric Last Mile
         Solutions, Inc., may be a party to certain of the legal matters.

     21. With respect to SOFA question 11, certain payments made to FTI Consulting, Inc. and Latham &
         Watkins LLP (as disclosed in SOFA question 3) may have been for services in connection with
         bankruptcy related topics.

     22. With respect to SOFA questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.

     23. With respect to SOFA question 26(d), the Debtors contacted dozens of parties in connection with
         its efforts to raise new sources of capital and shared financial information to certain of those
         parties, which are not individually disclosed herein.

     24. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
         whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating or delivering the information contained herein. The Debtors and their past or
         present officers, employees, attorneys, professionals and agents (including, but not limited to, the
         Designated Representative) expressly do not undertake any obligation to update, modify, revise or
         re-categorize the information provided herein or to notify any third party should the information be
         updated, modified, revised or re-categorized. In no event shall the Debtors or their past or present
         officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
         Designated Representative) be liable to any third party for any direct, indirect, incidental,
         consequential or special damages (including, but not limited to, damages arising from the
         disallowance of any potential claim against the Debtors or damages to business reputation, lost
         business or lost profits), whether foreseeable or not and however caused arising from or related to
         any information provided herein or omitted herein.




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Fill in this information to identify the case:

Debtor name           Electric Last Mile , Inc.

United States Bankruptcy Court for the:                      DISTRICT OF DELAWARE

Case number (if known)              22-10538 (MFW)
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $      61,570,604.25

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      61,570,604.25


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      53,472,956.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       4,235,147.77


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        57,708,103.77




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name      Electric Last Mile , Inc.

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)    22-10538 (MFW)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number

                 JPM Chase - Main disbursement
          3.1.   account                                                                                                             $1,683,419.00



                 JPM Chase - Domestic disbursement
          3.2.   account used to fund China expenses                                                                                   $372,947.00




          3.3.   JPM Chase - Revenue Account                                                                                                $956.00



                 J.P.Morgan Asset Management -
          3.4.   Money Market Account                                                                                              $18,058,749.00




          3.5.   JPM Chase - Restricted cash account                                                                               $18,146,718.00




          3.6.   JPM Chase - Warranty account                                                                                             $6,543.00



Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
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Debtor             Electric Last Mile , Inc.                                                Case number (If known) 22-10538 (MFW)
                   Name



4.          Other cash equivalents (Identify all)

5.          Total of Part 1.
                                                                                                                             $38,269,332.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:            Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes Fill in the information below.

7.          Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Contemporary Amperex Technology Co., Limited (CATL) - Capacity deposit                                         $9,203,758.00




            7.2.     Lizhou Wuling Auto Industry Deposit                                                                            $1,397,371.12




            7.3.     East West Bank (L/C)                                                                                           $1,200,000.00




            7.4.     Hughes, Hubbard, & Reed                                                                                         $375,937.83




            7.5.     Brown Rudnick                                                                                                   $365,694.28




            7.6.     FTI Consulting                                                                                                  $121,762.31




            7.7.     Jinhoa Automotive (Duplicate pmt - waiting on refund)                                                           $147,404.74




            7.8.     China Lease Deposit                                                                                              $86,106.37




            7.9.     Marcum LLP                                                                                                      $103,000.00



            7.10
            .    California Office Rent Deposit                                                                                       $55,000.00



            7.11
            .    Mishawaka Utilities Deposit                                                                                          $44,000.00
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor          Electric Last Mile , Inc.                                       Case number (If known) 22-10538 (MFW)
                Name




         7.12
         .    Mishawaka Gas Deposit                                                                                       $43,335.00



         7.13
         .    ICR Retainer                                                                                                $30,000.00



         7.14
         .    Dykema Gossett                                                                                              $12,720.83



         7.15
         .    Paradigm Counsel                                                                                            $10,000.00



         7.16
         .    Zen City Center (Company Apartment)                                                                          $9,600.00



         7.17
         .    Latham & Watkins                                                                                           $600,275.88



8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent


         8.0.     Liuzhou Wuling Automobile Industry Ltd - Prepaid inventory                                            $1,338,530.00


         8.1.     Unamortized SAP Implementation Cost                                                                   $1,281,991.26




         8.2.     Nanjing Automobile Le Import Export - Prepaid inventory                                                $290,055.00




         8.3.     Assured Partners (D&O Public Placement Insurance 6/24/21 - 6/24/22)                                    $423,411.17




         8.4.     SAP Svc Contract & Development Costs                                                                   $168,790.00




         8.5.     Assured Partners (Mishawaki Plant Insurance 6/24/21 - 6/24/22)                                          $61,826.70




         8.6.     3DSMan (Engineering Software - 1 year subscription)                                                     $38,821.84




Official Form 206A/B                          Schedule A/B Assets - Real and Personal Property                                 page 3
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Debtor          Electric Last Mile , Inc.                                     Case number (If known) 22-10538 (MFW)
                Name




         8.7.     Brooklyn Digital Foundry (Web Design)                                                               $32,175.00




         8.8.     California Rent (May rent)                                                                          $27,500.00




         8.9.     Siemens (Engineering Software - 1 year subscription)                                                $23,070.09



         8.10
         .    BMC Group VDR (25 - Electronic Document Hosting 25GB)                                                   $21,875.00



         8.11
         .    SF Motors Rent (Prepaid Parking Lot Rent)                                                               $17,949.19



         8.12
         .    Flexible Support Group (Parts & Service Manuals)                                                        $14,582.50



         8.13
         .    Workiva (Accounting Software - 1 Year Subscription)                                                     $12,500.00



         8.14
         .    City of Troy - Summer Tax (City of Troy Property Tax)                                                    $7,581.06



         8.15
         .    Marsh USA (auto insurance for 7 UU)                                                                      $6,670.97



         8.16
         .    Mpulse Software Inc (Annual MSP Subscription Renewal)                                                    $6,573.07



         8.17
         .    CDW (Apple computers - Ca office)                                                                        $6,348.43



         8.18
         .    City of Troy - Winter Tax (City of Troy Property Tax)                                                    $5,374.50



         8.19
         .    Workiva (Accounting Software - 1 Year Subscription)                                                      Unknown



         8.20
         .    Zen City Center (Company Apartment)                                                                       $600.00

Official Form 206A/B                           Schedule A/B Assets - Real and Personal Property                           page 4
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Debtor          Electric Last Mile , Inc.                                            Case number (If known) 22-10538 (MFW)
                Name




            8.21
            .    Relx (LexisNexis - Inteligize Annual Subscription)                                                          $4,462.50



            8.22
            .    Envoy (Covid survey - 1/12/22 - 1/11/23)                                                                    $4,305.60



            8.23
            .    Assured Partners (Adding 2021 Isuzu, 2021 Trailer, 2022 Tesla)                                              $2,806.68



            8.24
            .    TechSee (Annual Subscription - 5 users )                                                                    $2,200.00



            8.25
            .    Advantage Engineering (Upper Fascia, Lower Fascia, Grille (20 ea))                                          $1,866.20



            8.26
            .    Computer Aided Technology (Licenses)                                                                        $1,800.00



            8.27
            .    Mpulse Software Inc (SF Motors License Transfer - Plant Use)                                                  $850.89



            8.28
            .    MathWorks (Engineering Software - 1 year subscription)                                                        $769.56



            8.29
            .    Deliotte (US GAAP subscription (9/14/21 - 9/13/22))                                                           $631.68




9.          Total of Part 2.
                                                                                                                      $17,611,885.25
            Add lines 7 through 8. Copy the total to line 81.

Part 3:         Accounts receivable
10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes Fill in the information below.


Part 4:         Investments
13. Does the debtor own any investments?

          No. Go to Part 5.

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                           page 5
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Debtor          Electric Last Mile , Inc.                                               Case number (If known) 22-10538 (MFW)
                Name


          Yes Fill in the information below.


Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes Fill in the information below.

            General description                Date of the last        Net book value of         Valuation method used   Current value of
                                               physical inventory      debtor's interest         for current value       debtor's interest
                                                                       (Where available)

19.         Raw materials

20.         Work in progress

21.         Finished goods, including goods held for resale
            Inventory - Semi
            Finished Goods                                                    $21,144,460.31     Book Value                         Unknown


            Inventory - Finished
            Goods                                                               $992,159.98      N/A                                Unknown


            Inventory - Finished
            Goods on Consignment                                               $4,565,032.00     N/A                                Unknown



22.         Other inventory or supplies
            Inventory In Transit                                                 $87,909.78      N/A                                Unknown



23.         Total of Part 5.
                                                                                                                                      $0.00
            Add lines 19 through 22. Copy the total to line 84.

24.         Is any of the property listed in Part 5 perishable?
                No
                Yes

25.         Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                           Valuation method                         Current Value

26.         Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes Fill in the information below.


Part 7:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                    page 6
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Debtor          Electric Last Mile , Inc.                                                     Case number (If known) 22-10538 (MFW)
                Name

            General description                                            Net book value of          Valuation method used   Current value of
                                                                           debtor's interest          for current value       debtor's interest
                                                                           (Where available)

39.         Office furniture
            Furniture & Fixtures                                                    $130,066.84       N/A                                Unknown



40.         Office fixtures

41.         Office equipment, including all computer equipment and
            communication systems equipment and software
            Computer Hardware and Equipment                                         $298,527.13       N/A                                Unknown


            Computer Software                                                        $30,316.12       N/A                                Unknown


            Website Development                                                      $25,496.54       N/A                                Unknown



42.         Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

43.         Total of Part 7.                                                                                                                 $0.00
            Add lines 39 through 42. Copy the total to line 86.

44.         Is a depreciation schedule available for any of the property listed in Part 7?
                 No
                 Yes

45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
                No
                Yes

Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes Fill in the information below.

            General description                                            Net book value of          Valuation method used   Current value of
            Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                  (Where available)

47.         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.   Tesla Model 3                                                    $57,408.42       N/A                                Unknown


            47.2.   Dodge Ram Pickup                                                 $38,118.01       N/A                                Unknown


            47.3.   2017 Chevy 3500 Stake Bed Truck                                  $37,712.20       N/A                                Unknown


            47.4.   Ford Transit                                                     $32,397.20       N/A                                Unknown


            47.5.   UU-02 Stock Cab/Chassi
                    LSFGL2308MD401963                                                $23,775.00       N/A                                Unknown


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 7
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Debtor      Electric Last Mile , Inc.                                    Case number (If known) 22-10538 (MFW)
            Name



         47.6.   UU-12 Show Vehicle
                 LSFGL2306MD800984                                $23,775.00     N/A                             Unknown


         47.7.   UU-05 Stock Cab/Chassi
                 LSFGL2301MD800987                                $23,775.00     N/A                             Unknown


         47.8.   UU-03 Stock Cab/Chassi
                 LSFGL2300MD800978                                $23,775.00     N/A                             Unknown


         47.9.   ELMS0051 - MKT Wrapped Show
                 Vehicle                                          $22,918.86     N/A                             Unknown


         47.10
         .     Ford Transit Connect                               $21,855.67     N/A                             Unknown


         47.11
         .     UD-0 Microsoft Demo Unit                           $18,852.61     N/A                             Unknown


         47.12
         .     UD-0 First Unit                                    $18,357.94     N/A                             Unknown


         47.13
         .     ELMS0165 - MKT Vehicle (MSU)                       $16,708.83     N/A                             Unknown


         47.14
         .     ELMS0077 - MKT Sales Vehicle                       $16,496.72     N/A                             Unknown


         47.15 ELMS0056 - MKT Wrapped Show
         .     Vehicle                                            $15,525.69     Book Value                      Unknown


         47.16 ELMS0013 - MKT Wrapped Show
         .     Vehicle                                            $15,525.68     N/A                             Unknown


         47.17 ELMS0016 - MKT Wrapped Show
         .     Vehicle                                            $15,525.68     N/A                             Unknown


         47.18
         .     Norstar Gooseneck Trailer 102"x44'                 $10,869.44     N/A                             Unknown


         47.19
         .     Trailer Flatbed 25' Dual Axle 25KGVWR                $7,492.87    N/A                             Unknown


         47.20
         .     Golf Cart 2+2 Seat                                   $3,664.00    N/A                             Unknown


         47.21
         .     Golf Cart 2 Seat                                     $3,424.00    N/A                             Unknown




Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                         page 8
                               Case 22-10537-MFW                  Doc 33       Filed 06/22/22          Page 14 of 78

Debtor          Electric Last Mile , Inc.                                                Case number (If known) 22-10538 (MFW)
                Name

48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

49.         Aircraft and accessories


50.         Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Tooling in process at Mishawaka Plant                            $7,023,594.55       N/A                                  Unknown


            Machinery & Equipment                                            $2,420,630.38       N/A                                  Unknown



51.         Total of Part 8.
                                                                                                                                       $0.00
            Add lines 47 through 50. Copy the total to line 87.

52.         Is a depreciation schedule available for any of the property listed in Part 8?
                 No
                 Yes

53.         Has any of the property listed in Part 8 been appraised by a professional within the last year?
                No
                Yes

Part 9:         Real property
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes Fill in the information below.

55.         Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of           Nature and           Net book value of         Valuation method used   Current value of
            property                              extent of            debtor's interest         for current value       debtor's interest
            Include street address or other       debtor's interest    (Where available)
            description such as Assessor          in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. M&E (Mishawaka
                    Plant) acquired from
                    SERES transaction                                       $70,329,363.51       Book Value                          Unknown


            55.2.
                    Buildings
                    (Mishawaka Plant)                                     $111,946,112.52        Book Value                          Unknown


            55.3.   Land & Land
                    Improvements
                    (Mishawaka Plant)                                        $3,008,356.13       Book Value                          Unknown


            55.4.   Leasehold
                    Improvements
                    (Mishawaka Parking
                    Lot)                                                     $1,736,377.47       Book Value                          Unknown



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 9
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Debtor        Electric Last Mile , Inc.                                                   Case number (If known) 22-10538 (MFW)
              Name

           55.5.   Leasehold
                   Improvements (HQ
                   signage)                                                        $6,875.42          Book Value                         Unknown



56.        Total of Part 9.
                                                                                                                                            $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademark: Country: China - Status: Pending -
           Application # 1628495 - EFFICIENT BY
           NATURE                                                                       $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 56772493 - ELECTRIC LAST
           MILE                                                                         $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 1627913 - ELM                                                  $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 1627910 - ELMS                                                 $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 60628551 - ELMS ELECTIC LAST
           MILE SOLUTIONS (Stylized & ELMS Logo)                                        $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 60140230 - ELMS ELECTIC LAST
           MILE SOLUTIONS (Stylized & ELMS Logo)                                        $0.00         Book Value                         Unknown


           Trademark: Country: China - Status: Pending -
           Application # 60119426 - ELMS ELECTIC LAST
           MILE SOLUTIONS (Stylized & ELMS Logo)                                        $0.00         Book Value                         Unknown




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 10
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Debtor      Electric Last Mile , Inc.                                   Case number (If known) 22-10538 (MFW)
            Name

         Trademark: Country: China - Status: Pending -
         Application # 56776294 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                         $0.00    Book Value                      Unknown


         Trademark: Country: China - Status: Pending -
         Application # 56742260 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                         $0.00    Book Value                      Unknown


         Trademark: Country: China - Status: Pending -
         Application # 56766332 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                         $0.00    Book Value                      Unknown


         Trademark: Country: China - Status: Pending -
         Application # 56741881 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                         $0.00    Book Value                      Unknown


         Trademark: Country: China - Status: Pending -
         Application # 56759977 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                         $0.00    Book Value                      Unknown


         Trademark: Country: China - Status: Pending -
         Application # 1640115 - ELMS Logo                             $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Pending - Application # 1628495 - EFFICIENT
         BY NATURE                                                     $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Registered - Application # 018486099 -
         ELECTRIC LAST MIILE SOLUTIONS                                 $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Registered - Application # 018486095 -
         ELECTRIC LAST MILE                                            $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Pending - Application # 1627913 - ELM                         $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Pending - Application # 1627910 - ELMS                        $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Registered - Application # 018486105 - ELMS
         ELECTIC LAST MILE SOLUTIONS (Stylized &
         ELMS Logo)                                                    $0.00    Book Value                      Unknown


         Trademark: Country: European Union - Status:
         Pending - Application # 1640115 - ELMS Logo                   $0.00    Book Value                      Unknown




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property                        page 11
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Debtor      Electric Last Mile , Inc.                                    Case number (If known) 22-10538 (MFW)
            Name

         Trademark: Country: India - Status: Pending -
         Application # 5226547 - EFFICIENT BY
         NATURE                                                         $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 4997310 - ELECTRIC LAST MIILE
         SOLUTIONS                                                      $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 4997309 - ELECTRIC LAST MILE                     $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 5228224 - ELM                                    $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 5232902 - ELMS                                   $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 4997311 - ELMS ELECTIC LAST
         MILE SOLUTIONS (Stylized & ELMS Logo)                          $0.00    Book Value                      Unknown


         Trademark: Country: India - Status: Pending -
         Application # 1640115 - ELMS Logo                              $0.00    Book Value                      Unknown


         Trademark: Country: Madrid Protocol - Status:
         Registered - Application # TBD - EFFICIENT
         BY NATURE                                                      $0.00    Book Value                      Unknown


         Trademark: Country: Madrid Protocol - Status:
         Registered - Application # TBD - ELM                           $0.00    Book Value                      Unknown


         Trademark: Country: Madrid Protocol - Status:
         Registered - Application # TBD - ELMS                          $0.00    Book Value                      Unknown


         Trademark: Country: Madrid Protocol - Status:
         Registered - Application # 1640115 - ELMS
         Logo                                                           $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Pending - Application # 1628495 - EFFICIENT
         BY NATURE                                                      $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Registered - Application # UK00003652268 -
         ELECTRIC LAST MIILE SOLUTIONS                                  $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Registered - Application # UK00003652264 -
         ELECTRIC LAST MILE                                             $0.00    Book Value                      Unknown



Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                        page 12
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Debtor      Electric Last Mile , Inc.                                    Case number (If known) 22-10538 (MFW)
            Name

         Trademark: Country: United Kingdom - Status:
         Pending - Application # 1627913 - ELM                          $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Pending - Application # 1627910 - ELMS                         $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Registered - Application # UK00003652274 -
         ELMS ELECTIC LAST MILE SOLUTIONS
         (Stylized & ELMS Logo)                                         $0.00    Book Value                      Unknown


         Trademark: Country: United Kingdom - Status:
         Pending - Application # 1640115 - ELMS Logo                    $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366182 -
         EFFICIENT BY NATURE                                            $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366095 -
         ELECTRIC LAST MIILE SOLUTIONS                                  $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366080 -
         ELECTRIC LAST MILE                                             $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366055 -
         ELM                                                            $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366006 -
         ELMS                                                           $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366153 -
         ELMS & Elms Z Logo Design                                      $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/632121 -
         ELMS ELECTIC LAST MILE SOLUTIONS
         (Stylized & ELMS Logo)                                         $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/632079 -
         ELMS Logo                                                      $0.00    Book Value                      Unknown


         Trademark: Country: United States of America
         - Status: Pending - Application # 90/366118 -
         Elms Z Logo Design                                             $0.00    Book Value                      Unknown



Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                        page 13
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Debtor      Electric Last Mile , Inc.                                        Case number (If known) 22-10538 (MFW)
            Name

         Patent - 63/216208 - US - (United States) -
         FRONT BODY VEHICLE ASSEMBLY                                        $0.00    Book Value                      Unknown


         Patent - 63/232341 - US - (United States) -
         BATTERY MOUNTING ASSEMBLY FOR
         ELECTRIC VEHICLE                                                   $0.00    Book Value                      Unknown


         Patent - 63/271879 - US - (United States) -
         A-PILLAR AIRBAG SYSTEM                                             $0.00    Book Value                      Unknown


         Patent - 63/282390 - US - (United States) -
         ELECTRIC VEHICLE BATTERY EXCHANGE
         SYSTEM AND METHOD                                                  $0.00    Book Value                      Unknown


         Patent - 63/282393 - US - (United States) -
         ELECTRIC VEHICLE ALIGNMENT SYSTEM
         AND METHOD                                                         $0.00    Book Value                      Unknown


         Patent - 63/282396 - US - (United States) -
         ELECTRIC VEHICLE BATERY ATTACHMENT
         SYSTEM AND METHOD                                                  $0.00    Book Value                      Unknown


         Patent - 63/282404 - US - (United States) -
         BATTERY EXCHANGE STAION FOR
         ELECTRIC VEHICLE SYSTEM AND METHODS                                $0.00    Book Value                      Unknown


         Patent - 63/301746 - US - (United States) -
         ADJUSTABLE ROOF ASSEMBLY                                           $0.00    Book Value                      Unknown


         Patent - 63/306728 - US - (United States) -
         INTEGRATED ELECTRIC VEHICLE
         COMUNICATIONS CONTROLLER                                           $0.00    Book Value                      Unknown



61.      Internet domain names and websites
         e-urbandelivery.com                                                $0.00    Book Value                      Unknown


         electriclastmile.com                                               $0.00    Book Value                      Unknown


         e-lastmilesolutions.com                                            $0.00    Book Value                      Unknown


         electriclastmilesolutions.com                                      $0.00    Book Value                      Unknown


         https://www.youtube.com/channel/UCMYy4eCr
         01cd2pq0K2IEXHA                                                    $0.00    Book Value                      Unknown


         https://twitter.com/ELMSolutions                                   $0.00    Book Value                      Unknown




Official Form 206A/B                          Schedule A/B Assets - Real and Personal Property                        page 14
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Debtor        Electric Last Mile , Inc.                                                    Case number (If known) 22-10538 (MFW)
              Name

           https://www.linkedin.com/company/electric-las
           t-mile-solutions                                                             $0.00      Book Value                         Unknown


           https://www.facebook.com/ElectricLastMileSol
           utions                                                                       $0.00      Book Value                         Unknown


           https://www.instagram.com/electriclastmilesol
           utions/                                                                      $0.00      Book Value                         Unknown


           https://vimeo.com/user125684026                                              $0.00      Book Value                         Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.
                                                                                                                                        $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net Operating Loss                                                               Tax year                               $5,689,387.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 15
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Debtor      Electric Last Mile , Inc.                                              Case number (If known) 22-10538 (MFW)
            Name



         BDO (former auditor)                                                                                              Unknown
         Nature of claim
         Amount requested                                      $0.00



         Foley and Lardner LLP (former corporate counsel)                                                                  Unknown
         Nature of claim
         Amount requested                                      $0.00


         White & Case (former Forum Merger III Corporation
         counsel)                                                                                                          Unknown
         Nature of claim
         Amount requested                                      $0.00



         Jason Luo (fomer executive)                                                                                       Unknown
         Nature of claim
         Amount requested                                      $0.00



         James Taylor (former executive)                                                                                   Unknown
         Nature of claim
         Amount requested                                      $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.
                                                                                                                      $5,689,387.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 16
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Debtor          Electric Last Mile , Inc.                                                                          Case number (If known) 22-10538 (MFW)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                             Current value of                     Current value of real
                                                                                                   personal property                    property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                     $38,269,332.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                          $17,611,885.25

82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

83. Investments. Copy line 17, Part 4.                                                                                     $0.00

84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                  $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

90. All other assets. Copy line 78, Part 11.                                                   +              $5,689,387.00

91. Total. Add lines 80 through 90 for each column                                                       $61,570,604.25             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $61,570,604.25




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                         page 17
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Fill in this information to identify the case:

Debtor name          Electric Last Mile , Inc.

United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

Case number (if known)              22-10538 (MFW)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Atlantic Specialty
2.1                                                                                                                   $1,200,000.00                 Unknown
       Insurance Company                            Describe debtor's property that is subject to a lien
       Creditor's Name
       605 U.S. Highway 169
       Eighth Floor
       ATTN: Collateral Manager
       Plymouth, MN 55441
       Creditor's mailing address                   Describe the lien
                                                    Letter of Credit No. 220SL005076
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       Unknown                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       Industrial and Commercial
2.2                                                                                                                 $15,489,319.00                  Unknown
       Bank of China                                Describe debtor's property that is subject to a lien
       Creditor's Name

       1001 Grant Avenue
       San Francisco, CA 94133
       Creditor's mailing address                   Describe the lien
                                                     Promisory Note
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       Unknown                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
                                    Case 22-10537-MFW                     Doc 33           Filed 06/22/22         Page 24 of 78

Debtor       Electric Last Mile , Inc.                                                             Case number (if known)       22-10538 (MFW)
             Name

       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                    Disputed


2.3    SF Motors (Seres)                           Describe debtor's property that is subject to a lien               $36,783,637.00                 Unknown
       Creditor's Name

       3033 Scott Blvd
       Santa Clara, CA 95054
       Creditor's mailing address                 Describe the lien
                                                  Land Contract Obligation
                                                  Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       Unknown                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                    Disputed


                                                                                                                            $53,472,956.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
                                 Case 22-10537-MFW                       Doc 33           Filed 06/22/22                 Page 25 of 78


Fill in this information to identify the case:

Debtor name        Electric Last Mile , Inc.

United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

Case number (if known)          22-10538 (MFW)
                                                                                                                                                   Check if this is an
                                                                                                                                                          amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $3,558.00
          3S Incorporated                                                    Contingent
          8686 Southwest Pkwy                                                Unliquidated
          Arcadia, IN 46030                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $16,893.85
          A.T. Kearney, Inc.                                                 Contingent
          227 W. Monroe Street                                               Unliquidated
          Chicago, IL 60606                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $241,400.00
          Advantage Engineering Inc.                                         Contingent
          5000 Regal Drive                                                   Unliquidated
          Windor, ON (Ontario) L0L 1N9
                                                                             Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $2,210.15
          Amazon Web Services                                                Contingent
          410 Terry Ave. N                                                   Unliquidated
          Seattle, WA 98109                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes



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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,140.00
         Amphenol Automotive Connection Syst                        Contingent
         No. 20 Tianshan Road, Changzhou Cit                        Unliquidated
         Jiangsu Province, P.R. China                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,003.75
         Ashgrove Marketing Agency, LLC                             Contingent
         30475 South Wixom Road Suite 100A                          Unliquidated
         Wixom, MI 48393                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,643.91
         AT&T                                                       Contingent
                                                                    Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:    Trade Claim
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,725.00
         Autoliv                                                    Contingent
         1320 Pacific Drive                                         Unliquidated
         Auburn Hills, MI 48326                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         B.C. Welding, Inc.                                         Contingent
         12801 Industrial Park Drive                                Unliquidated
         Granger, IN (Indiana) 46530-0000
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $152,999.77
         Barnes & Thornburg                                         Contingent
         11 South Meridian Strret                                   Unliquidated
         Indianapolis, IN 46204
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,500.00
         Bay Valuation Advisors, LLC                                Contingent
         1 Kaiser Plaza Ste 1475                                    Unliquidated
         Oakland, CA 94612                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         BDO                                                        Contingent
         2600 West Big Beaver Rd Suite 600
         Troy, MI 48084
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:    Trade Claim
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,254.50
         Beary Landscape Management, Inc.                           Contingent
         15001 W. 159th Street                                      Unliquidated
         Homer Glen, IL 60491                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                             Promisory Note        Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,354.18
         Berger Harris LLP                                          Contingent
         1105 N Market Street 11th Floor                            Unliquidated
         Wilmington, DE 19801                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $223,287.19
         Bluewater Technologies Group, Inc                          Contingent
         30303 Beck Rd                                              Unliquidated
         Wixom, MI 48393
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,650.00
         Bobtit Business Media                                      Contingent
         3520 Challenger Street                                     Unliquidated
         Torrance, CA 90503                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $404,926.50
         Bozhon Inc.                                                Contingent
         3094 Kenneth Street                                        Unliquidated
         Santa Clara, CA 95054
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $54,375.00
         Brooklyn Digital Foundry                                   Contingent
         149 East Durham Street                                     Unliquidated
         Philadelphia, PA 19119
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,476.60
         Buckeye Power Sales Co., Inc                               Contingent
         6850 Commerce Court Dr.                                    Unliquidated
         Blacklick, OH 43004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,522.90
         Burke Porter                                               Contingent
         730 Plymouth                                               Unliquidated
         Grand Rapids, MI 49505                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $0.00
         BWI Group Beijing West Industries Co. Lt                   Contingent
         12501 E Grand River Rd                                     Unliquidated
         Brighton, MI 48116
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $59,700.00
         Cayman Dynamics, LLC                                       Contingent
         P.O. Box 1654                                              Unliquidated
         Ann Arbor, MI 48106
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $535.19
         Central Computer Supplies                                  Contingent
         139 Hampshire                                              Unliquidated
         Troy, MI 48085                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,212.85
         CINTAS CORPORATION                                         Contingent
         232 E MAPLE RD                                             Unliquidated
         Troy, MI 48083                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $923.60
         Contemporary Amperex Technology Co.,                       Contingent
         Lim                                                        Unliquidated
         No. 2 Xin'gang Road Zhangwan Town                          Disputed
         Ningde City, Fuijian, 150 (Fujian) 00035
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $67,875.00
         Continental Automotive GmbH                                Contingent
         123 IDK                                                    Unliquidated
         Regensburg, 06 (Hessen) 93009-0000
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,669.91
         Continental Stock Transfer & Trust                         Contingent
         One State St Plaza                                         Unliquidated
         New York, NY 10004                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,960.63
         Creative Financial Staffing                                Contingent
         P.O. Box 95111                                             Unliquidated
         Chicago, IL 60694                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $209.94
         CSC                                                        Contingent
         251 Little Falls Dr                                        Unliquidated
         Wilmington, DE 19808                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,345.50
         Cyber Protect LLC                                          Contingent
         13216 Herbert Ave                                          Unliquidated
         Warren, MI 48089                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,238.00
         Decorative Metal Solutions Inc                             Contingent
         33714 Doreka Dr                                            Unliquidated
         Fraser, MI 48026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $600.00
         DeLeeuw Design Company, LLC                                Contingent
         53929 Pheasant Ridge Dr                                    Unliquidated
         Bristol, IN 46507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $35,000.00
         Deloitte and Touche LLP                                    Contingent
         111 Monument Circle                                        Unliquidated
         Indianapolis, IN 46204
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,000.00
         DEP                                                        Contingent
         850 East Long Lake Rd                                      Unliquidated
         Troy, MI 48055
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Department of Treasury - Internal Revenu                   Contingent
         P.O. Box 7346
         Philadelphia, PA 19101-7346
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:    Tax claim
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,375.00
         Diligent Corporation                                       Contingent
         1111 19th Street NW                                        Unliquidated
         Washington, DC 20036                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,163.53
         Distyll Graphic Solutions                                  Contingent
         PO BOX 933551                                              Unliquidated
         Atlanta,, GA 32293                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $301,617.00
         DSA Systems Inc                                            Contingent
         1389 Wheaton Dr                                            Unliquidated
         Troy, MI 48083
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $401.32
         DXP Enterprises Rick Kuhlmann                              Contingent
         13200 McKinley Highway                                     Unliquidated
         Mishawaka, IN 46545                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,208.00
         Edgar Agents                                               Contingent
         105 White Oak Lane                                         Unliquidated
         Old Bridge, NJ 08857                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,750.00
         EDI                                                        Contingent
         10099 Radiance Dr                                          Unliquidated
         Fair Haven, MI (Michigan) 48023-0000                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,903.00
         EDLO                                                       Contingent
         497 Yorktown Rd.                                           Unliquidated
         Logansport, IN 46947                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $26.09
         EFC International                                          Contingent
         1940 Craigshire Rd.                                        Unliquidated
         Saint Louis, MO 63146                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,050.00
         Element                                                    Contingent
         27485 George Merrelli Drive                                Unliquidated
         Warren, MI 48092
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $146.64
         Elijah                                                     Contingent
         111 N. Wabash                                              Unliquidated
         Suite 2018                                                 Disputed
         Chicago, IL 60602
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $467.25
         Elite Imaging                                              Contingent
         1000 Chicago Rd                                            Unliquidated
         Elm Hall, MI 48830                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $66,444.00
         ELMI Union Defined Benefit Plan                            Contingent
         Monroe and Associates, Inc.
         25901 W 10 Mile Rd #200
                                                                    Unliquidated
         Southfield, MI 48033                                       Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Trade Claim
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $444.78
         ERS Wireless                                               Contingent
         57678 County Road 3                                        Unliquidated
         Elkhart, IN 46517                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,013.00
         EV Power Source, LLC                                       Contingent
         11407 Royalshire Dr                                        Unliquidated
         Dallas, TX 75230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $92,557.00
         Faegre Drinker Daniels Trust Accoun                        Contingent
         600 East 96th Street Suite 600                             Unliquidated
         Indianapolis, IN 46240
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,000.00
         FEV North America Inc.                                     Contingent
         4554 Glenmeade Lane                                        Unliquidated
         Auburn Hills, MI 48326
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $500.00
         Financial Accounting Standards FASB                        Contingent
         PO Box 418272                                              Unliquidated
         Boston, MA 02241                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $0.00
         Foley and Lardner LLP                                      Contingent
         500 Woodward Ave
         Detroit, MI 48226
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:    Trade Claim
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Electric Last Mile , Inc.                                                       Case number (if known)            22-10538 (MFW)
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,600.00
         Fowlerville Proving Ground                                 Contingent
         1750 Smith Rd                                              Unliquidated
         Fowlerville, MI 48836                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,582.44
         Freedman Seating Co                                        Contingent
         4545 Augusta Blvd                                          Unliquidated
         Chicago, IL 60651                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,675.00
         FW Cooke                                                   Contingent
         190 S. LaSalle Street Suite 2120                           Unliquidated
         Chicago, IL 60603                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $416.50
         GAOFE International Industrial Co.                         Contingent
         #26, building 2, 3rd floor, wanzhang roa                   Unliquidated
         Dongwan                                                    Disputed
         Shanghai China
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,856.00
         Global Enterprise Tech Resource Inc.                       Contingent
         3250 W Big Beaver Rd.                                      Unliquidated
         Suite 139                                                  Disputed
         Troy, MI 48084
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,844.09
         Glovis America, Inc.                                       Contingent
         17305 Von Karman Ave                                       Unliquidated
         Irvine, CA 92614                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,205.00
         Guardian Alarm                                             Contingent
         20800 Southfield Rd                                        Unliquidated
         Southfield, MI 48075                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $88,378.00
         Guardian Auto Transport LLC                                Contingent
         275 12th St                                                Unliquidated
         Wheeling, IL 60090
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $814.70
         Holland & Knight                                           Contingent
         1180 W Peachtree St. NW                                    Unliquidated
         Suite 1800                                                 Disputed
         Atlanta, GA 30309
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $616,071.68
         HTI Cybermetics                                            Contingent
         40033 Mitchell Drive                                       Unliquidated
         Sterling Heights, MI 48313
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,700.00
         Hull Toyota Lift                                           Contingent
         4221 Technology Dr                                         Unliquidated
         South Bend, IN 46628                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $31,200.00
         ICR LLC                                                    Contingent
         761 Main Ave                                               Unliquidated
         Norwalk, CT 06851
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $141,527.45
         Indiana Michigan Power                                     Contingent
         110 E Wayne St.                                            Unliquidated
         Fort Wayne, IN 46802
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $719.60
         Intrepid                                                   Contingent
         1850 Research Dr                                           Unliquidated
         Troy, MI 48083                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $57,500.00
         Jaydu LLC                                                  Contingent
         460 Stull St                                               Unliquidated
         Suite 300
                                                                    Disputed
         South Bend, IN 46601
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $0.00
         JPM Chase                                                  Contingent
         PO BOX 15918
         MAIL SUITE DE1-1404
                                                                    Unliquidated
         WILMINGTON, DE 19850                                       Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Corporate Credit Card
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,910.87
         Logic People LLC                                           Contingent
         8679 26 Mile Rd #308                                       Unliquidated
         Washington, MI 48094                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,006.00
         MacAllister Rentals                                        Contingent
         2147 South 11th Street                                     Unliquidated
         Niles, MI 49200                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,375.00
         Magnum Security Services Inc                               Contingent
         601 S Bend Ave                                             Unliquidated
         South Bend, IN 46617                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,573.00
         Marsh USA Inc.                                             Contingent
         1166 Avenue of the Americas                                Unliquidated
         New York, NY 10036                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $731.40
         Mathworks                                                  Contingent
         3 Apple Hill Drive                                         Unliquidated
         Natick, MA 01760                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $232,890.00
         MGA Research Corp                                          Contingent
         446 Executive Dr.                                          Unliquidated
         Troy, MI 48083
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,607.20
         Midtronics, Inc.                                           Contingent
         7000 Monroe St.                                            Unliquidated
         Willowbrook, IL 60527                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,538.66
         MOMAR                                                      Contingent
         1830 Ellsworth Industrial Dr                               Unliquidated
         Atlanta, GA (Georgia) 30318-0000                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,820.12
         Motion                                                     Contingent
         3901 S. Main Street                                        Unliquidated
         South Bend, IN 46614                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,118.00
         Motor City Fastener LLC DBA Motor City I                   Contingent
         1600 1600 East 10 Mile Rd                                  Unliquidated
         Hazel Park, MI 48030                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $51,865.86
         Nanjing Automobile Import and Expor                        Contingent
         2 Lijing Road, 9th Floor, R&D Mansi                        Unliquidated
         Nanjing, 100 (Jiangsu) 00021-0061
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,894.00
         Nationwide Janitorial Services                             Contingent
         3002 North Home Street                                     Unliquidated
         Mishawaka, IN 46545                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,250.00
         Opinicus Consulting LLC                                    Contingent
         2880 Croftshire Court                                      Unliquidated
         Rochester, MI 48306                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $41,765.20
         Osirius Group LLC                                          Contingent
         725 S. Adams Rd., Ste 205                                  Unliquidated
         Birmingham, MI 48009
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,948.02
         Page One Automotive                                        Contingent
         211 South HIll Dr.                                         Unliquidated
         Suite D                                                    Disputed
         Brisbane, CA 94005
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,701.00
         Pfinder Chemical US Lp                                     Contingent
         11525 Brogham Drive                                        Unliquidated
         Sterling Heights, MI 48312                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,605.50
         Premium Services, Inc.                                     Contingent
         25899 W Twelve Mile Rd Suite 250                           Unliquidated
         Southfield, MI 48034                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $286.93
         Proforma Premier Marketing                                 Contingent
         PO Box 640814                                              Unliquidated
         Cincinnati, OH 45264                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $164,902.40
         Prosco                                                     Contingent
         15-28                                                      Unliquidated
         Glen Wild, NY 12738
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,300.00
         Public Company Accounting Oversight Boar                   Contingent
         PO Box 418631                                              Unliquidated
         Boston, MA 02241                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,650.00
         Quality-One International                                  Contingent
         1333 Anderson Road                                         Unliquidated
         Clawson, MI 48017                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Randy Marion Isuzu, LLC dba Randy Marion                   Contingent
         209 West Plaza Drive
         Moorsville, NC 28117
                                                                    Unliquidated
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Customer Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         RCO Engineering                                            Contingent
         29200 Calahan Rd                                           Unliquidated
         Roseville, MI 48660
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $221,645.46
         Samsong Industry Co.                                       Contingent
         1005 Jungwoo Building                                      Unliquidated
         13-25 Youido-dong Youngdeungpo-gu, 11 (S
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $145,512.00
         SAP                                                        Contingent
         3999 W Chester Pike                                        Unliquidated
         Newtown Square, PA 19073
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Schneider                                                  Contingent
         4808 KROEMER ROAD                                          Unliquidated
         Fort Wayne, IN 46818
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $50.08
         Shanghai Ding Zhen Testing Technology Co                   Contingent
         No.6, Fukang West Road, Anting Town                        Unliquidated
         Shanghai China                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $85.00
         Shred Corp                                                 Contingent
         31751 Sherman Avenue                                       Unliquidated
         Madison Heights, MI 48071                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,150.88
         Siemens Industry Software, Inc.                            Contingent
         PO box 2168                                                Unliquidated
         Carol Stream, IL 60132
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,019.32
         Sirun Technoloby Co., Ltd                                  Contingent
         25 F. Block D. Swan Tower National                         Unliquidated
         Xinwu District, Wuxi City                                  Disputed
         100 (Jiangsu)
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,960.00
         Smart Sheet Inc.                                           Contingent
         10500 NE 8th St.                                           Unliquidated
         Suite1300                                                  Disputed
         Bellevue, WA 98004
                                                                   Basis for the claim:    Trade Claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,089.68
         Synergia Automotive, LLC                                   Contingent
         1965 Research Dr Suite 150                                 Unliquidated
         Troy, MI 48083
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $62,500.00
         The Benchmark Company                                      Contingent
         150 East 58th St. 17th Fl.                                 Unliquidated
         New York, NY 10155
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,163.00
         Thomson Reuters                                            Contingent
         610 Opperman Drive                                         Unliquidated
         Saint Paul, MN 55123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,661.10
         TK Elevator Corporation                                    Contingent
         3100 Interstate North Ctr SE Ste 50                        Unliquidated
         Atlanta, GA 30339                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,115.00
         Unatech Technology Solutions LLC                           Contingent
         723 Langley Road                                           Unliquidated
         Rochester, MI 48309                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,630.52
         Vector North America Inc.                                  Contingent
         39500 Orchard Hill Place                                   Unliquidated
         Novi, MI 48375                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $49,000.00
         Venshure Test Services                                     Contingent
         18600 W Old Highway 12                                     Unliquidated
         Chelsea, MI 48118
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $850.85
         Waste Management                                           Contingent
         20645 Ireland Road                                         Unliquidated
         South Bend, IN 46614                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $0.00
         Weldstar                                                   Contingent
         3305 Lathrop St                                            Unliquidated
         South Bend, IN 46628
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 17
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Debtor       Electric Last Mile , Inc.                                                              Case number (if known)            22-10538 (MFW)
             Name

3.110     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,711.00
          Wilmer Hale                                                       Contingent
          250 Greenwich St                                                  Unliquidated
          New York, NY 10007                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.111     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $79,500.00
          Workiva                                                           Contingent
          2900 University Blvd                                              Unliquidated
          Ames, IA 50010
                                                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.112     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,415.73
          Zuken USA, Inc.                                                   Contingent
          238 Littleton Road, Ste 100                                       Unliquidated
          Westford, MA 01886                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                    4,235,147.77

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        4,235,147.77




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 17
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Fill in this information to identify the case:

Debtor name        Electric Last Mile , Inc.

United States Bankruptcy Court for the:      DISTRICT OF DELAWARE

Case number (if known)      22-10538 (MFW)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Supplier PO
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    3 HTI LLC
             List the contract number of any                                        7 Cliff Swallow Dr Ste 201
                   government contract                                              Medford, NJ 08055


2.2.         State what the contract or           Supplier PO
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    3DS Man
             List the contract number of any                                        3000 Atrium Way #296
                   government contract                                              Mount Laurel, NJ 08054


2.3.         State what the contract or           Insurance Policy
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Accident Fund
                                                                                    200 N. Grand Ave.
             List the contract number of any                                        PO Box 40790
                   government contract                                              Lansing, MI 48901-7990


2.4.         State what the contract or           Insurance Policy
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Accident Fund General Insurance Company
                                                                                    200 N. Grand Ave.
             List the contract number of any                                        PO Box 40790
                   government contract                                              Lansing, MI 48901-7990



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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.5.      State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      ADP Canada Co.
                                                                           3250 Bloor St W 16th Floor
          List the contract number of any                                  Ontario
                government contract                                        Canada


2.6.      State what the contract or        Supplier agreement -
          lease is for and the nature of    addendum
          the debtor's interest

             State the term remaining
                                                                           ADP, Inc.
          List the contract number of any                                  1 ADP Boulevard
                government contract                                        Roseland, NJ 07068


2.7.      State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           ADP, Inc.
          List the contract number of any                                  1 ADP Boulevard
                government contract                                        Roseland, NJ 07068


2.8.      State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Adrian Steel Co
          List the contract number of any                                  906 James St.
                government contract                                        Adrian, MI 49221


2.9.      State what the contract or        LOI
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Advantage Engineering Inc.
                                                                           5000 Regal Drive
          List the contract number of any                                  Oldcastle, Ontario
                government contract                                        Canada


2.10.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest
                                                                           Altair Engineering
             State the term remaining                                      1820 E Big Beaver Rd
                                                                           Troy, MI 48083

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 35
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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.11.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Alyeska Investment Group, L.P
          List the contract number of any                                  77 West Wacker Drive, 7th Floor
                government contract                                        Chicago, IL 60601


2.12.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Amazon Internet Services Private Limited
                                                                           Block E, 14th Floor, Unit Nos. 1401 to 1421, Inter
          List the contract number of any                                  Nehru Place, New Delhi 110019.
                government contract                                        India


2.13.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Amp&Axle Consulting
                                                                           4402 King Edward Avenue
          List the contract number of any                                  Montreal, QC
                government contract                                        Canada


2.14.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Ample, Inc
          List the contract number of any                                  100 Hooper St, Suite 25
                government contract                                        San Francisco, CA 94117


2.15.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           ARKO Corp.
          List the contract number of any                                  8565 Magellan Pkwy, Suite 400
                government contract                                        Richmond, VA 23227




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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.16.     State what the contract or        LOI
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Autoliv
          List the contract number of any                                  1320 Pacific Drive
                government contract                                        Auburn Hills, MI 48326


2.17.     State what the contract or        Axle Test Quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           AVL North America Corporate Services, In
          List the contract number of any                                  47603 Halyard Drive
                government contract                                        Plymouth, MI 48170


2.18.     State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           AXA / XL
          List the contract number of any                                  100 Washington Blvd
                government contract                                        Stamford, CT 06902


2.19.     State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           AXIS Insurance
          List the contract number of any                                  92 Pitts Bay Road
                government contract                                        Pembroke, HM Bermuda


2.20.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Bank: Industrial and Commercial Bank of
          List the contract number of any                                  345 California Street
                government contract                                        San Francisco, CA 94104


2.21.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest
                                                                           Bank: Industrial and Commercial Bank of
             State the term remaining                                      345 California Street
                                                                           San Francisco, CA 94104

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 4 of 35
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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.22.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Bank: Industrial and Commercial Bank of
          List the contract number of any                                  345 California Street
                government contract                                        San Francisco, CA 94104


2.23.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Beazley USA Services, Inc.
          List the contract number of any                                  30 Batterson Park Rd.
                government contract                                        Farmington, CT 06032


2.24.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Beneficiary: SF Motors, Inc. D/B/A Seres
          List the contract number of any                                  3033 Scott Blvd.
                government contract                                        Santa Clara, CA 95054


2.25.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Beneficiary: SF Motors, Inc. D/B/A Seres
          List the contract number of any                                  3033 Scott Blvd.
                government contract                                        Santa Clara, CA 95054


2.26.     State what the contract or        Letter of Credit
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Beneficiary: SF Motors, Inc. D/B/A Seres
          List the contract number of any                                  3033 Scott Blvd.
                government contract                                        Santa Clara, CA 95054




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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.27.     State what the contract or        Employment agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Benjamin Wu
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098


2.28.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Biynah Industrial Partners
          List the contract number of any                                  5353 Wayzata Blvd., Suite 205
                government contract                                        Minneapolis, MN 55416


2.29.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           BlackRock Financial Management, Inc.
          List the contract number of any                                  55 East 52nd Street
                government contract                                        New York, NY 10055


2.30.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           BMC Group d/b/a SmartRoom
          List the contract number of any                                  3732 W 120th St.
                government contract                                        Hawthorne, CA 90250


2.31.     State what the contract or        Supplier Spot Buy PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Bobchuck LLC
          List the contract number of any                                  224 West Marshall St
                government contract                                        Femdale, MI 48220


2.32.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest
                                                                           BofA Securities, Inc.
             State the term remaining                                      One Bryant Park
                                                                           New York, NY 10036

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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.33.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Bozhon Inc.
          List the contract number of any                                  3094 Kenneth St
                government contract                                        Santa Clara, CA 95054


2.34.     State what the contract or        Director
          lease is for and the nature of    indemnification
          the debtor's interest             agreement

             State the term remaining
                                                                           Brian Krzanich
          List the contract number of any                                  (redacted)
                government contract


2.35.     State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Burlington Insurance
          List the contract number of any                                  238 International Dr
                government contract                                        Burlington, NC 27215


2.36.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           BWI Chassis Dynamics (NA), Inc.
          List the contract number of any                                  12501 E. Grand River Ave
                government contract                                        Brighton, MI 48116


2.37.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Canoo Technologies Inc.
          List the contract number of any                                  19951 Mariner Ave.
                government contract                                        Torrance, CA 90503




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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.38.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Canoo Technologies Inc.
          List the contract number of any                                  19951 Mariner Ave.
                government contract                                        Torrance, CA 90503


2.39.     State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Cayman Dynamics
          List the contract number of any                                  15201 Century Drive
                government contract                                        Dearborn, MI 48120


2.40.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           ChargePoint Inc.
          List the contract number of any                                  254 East Hacienda Avenue
                government contract                                        Campbell, CA 95008


2.41.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Chicago Southland CVB
          List the contract number of any                                  19900 Governors Dr Suite 200
                government contract                                        Olympia Fields, IL 60461


2.42.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Chongqing Sokon Motors(Group) Imp. & Exp
                                                                           No. 618 Liangjiang Avenue
          List the contract number of any                                  Longxing, Yubei District, Chongqing
                government contract                                        China


2.43.     State what the contract or        Business registration
          lease is for and the nature of
          the debtor's interest
                                                                           City and County of San Francisco Office
             State the term remaining                                      1 Dr Carlton B Goodlett Pl #140
                                                                           San Francisco, CA 94102

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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.44.     State what the contract or        Supplier cooperation
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining                                      Contemporary Amperex Technology Co., Lim
                                                                           No. 2 Xin'gang Road Zhangwan Town
          List the contract number of any                                  Ningde City, Fuijian
                government contract                                        China


2.45.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Contemporary Amperex Technology Co., Lim
                                                                           No. 2 Xin'gang Road Zhangwan Town
          List the contract number of any                                  Ningde City, Fuijian
                government contract                                        China


2.46.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Contemporary Amperex Technology Co., Lim
                                                                           No. 2 Xin'gang Road Zhangwan Town
          List the contract number of any                                  Ningde City, Fuijian
                government contract                                        China


2.47.     State what the contract or        Supplier direct
          lease is for and the nature of    sourcing agreement
          the debtor's interest

             State the term remaining                                      Contemporary Amperex Technology Co., Lim
                                                                           No. 2 Xin'gang Road Zhangwan Town
          List the contract number of any                                  Ningde City, Fuijian
                government contract                                        China


2.48.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Continental Automotive Systems, Inc
          List the contract number of any                                  One Continental Drive
                government contract                                        Auburn Hills, MI 48326




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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.49.     State what the contract or        Supplier NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Continental Safety Engineering Internati
                                                                           Carl-Zeiss-Stra e 9, 63755
          List the contract number of any                                  Alzenau
                government contract                                        Germany


2.50.     State what the contract or        Warrant certificate
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           CONTINENTAL STOCK TRANSFER & TRUST COMPA
          List the contract number of any                                  1 State St 30th floor
                government contract                                        New York, NY 10004


2.51.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Cox Automotive, Inc.
          List the contract number of any                                  6205 Peachtree Dunwoody Road
                government contract                                        Atlanta, GA 30328


2.52.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Crawford Environmental Services, LLC
          List the contract number of any                                  1701 Shenandoah Avenue, NW
                government contract                                        Roanoke, VA 24017


2.53.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Cubex Ltd
                                                                           7423 Wilson Ave
          List the contract number of any                                  Delta, BC
                government contract                                        Canada


2.54.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest                                            Cullen / Jacques Bolduc
                                                                           32 Rue Duquet
             State the term remaining                                      Sainte-Therese, QC
                                                                           Canada

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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.55.     State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Dassault Systemes Americas Corp
          List the contract number of any                                  175 Wyman Street
                government contract                                        Waltham, MA 02451


2.56.     State what the contract or        Director
          lease is for and the nature of    indemnification
          the debtor's interest             agreement

             State the term remaining
                                                                           David Boris
          List the contract number of any                                  (redacted)
                government contract


2.57.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Decorative Metal Solutions
          List the contract number of any                                  33714 Doreka Dr.
                government contract                                        Fraser, MI 48026


2.58.     State what the contract or        Services proposal
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           DEP Detroit Engineered Products
          List the contract number of any                                  850 E Long Lake Rd # A
                government contract                                        Tory, MI 48085


2.59.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Deragon Inc.
                                                                           390 De La Montagne
          List the contract number of any                                  Montreal, QC
                government contract                                        Canada




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.60.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Diameter Capital Partners LP
          List the contract number of any                                  55 Hudson Yards, Suite 29B
                government contract                                        New York, NY 10001


2.61.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Doering Fleet Management
          List the contract number of any                                  15300 W. Capitol Dr.
                government contract                                        Brookfield, WI 53005


2.62.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           EisnerAmper LLP
          List the contract number of any                                  750 Third Avenue
                government contract                                        New York, NY 10017


2.63.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Element Materials Technology
          List the contract number of any                                  27 485 George Merreli Drive
                government contract                                        Warren, MI 48092


2.64.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Enroute Inc.
          List the contract number of any                                  18 Barton St #1024
                government contract                                        San Francisco, CA 94133


2.65.     State what the contract or        MEMORANDUM OF
          lease is for and the nature of    UNDERSTANDING
          the debtor's interest
                                                                           EVgoServices LLC
             State the term remaining                                      11835West Olympic Blvd., Suite 900E
                                                                           Los Angeles, CA 90064

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.66.     State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Federal Insurance Company (Chubb)
          List the contract number of any                                  202 Halls Mill Rd
                government contract                                        Whitehouse Station, NJ 08889


2.67.     State what the contract or        Insurance Claim
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Federal Insurance Company (Chubb) - Cent
          List the contract number of any                                  P.O. Box 910
                government contract                                        O'Fallon, MO 63366


2.68.     State what the contract or        Insurance Claim
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Federal Insurance Company (Chubb) - East
          List the contract number of any                                  P.O. Box 4700
                government contract                                        Chesapeake, VA 23327-4700


2.69.     State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           FEV North America, Inc.
          List the contract number of any                                  4554 Glenmeade Lane
                government contract                                        Aurburn Hills, MI 48326


2.70.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Fisker Inc.
          List the contract number of any                                  1888 Rosecrans Ave
                government contract                                        Manhattan Beach, CA 90266




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.71.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           FitzWalter Capital (US) LLC
          List the contract number of any                                  17 State Street, Level 40
                government contract                                        New York, NY 10014


2.72.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Fortress Investment Group LLC
          List the contract number of any                                  1345 Avenue of the Americas, 46th Floor
                government contract                                        New York, NY 10105


2.73.     State what the contract or        Director nomination
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                           FORUM INVESTORS III LLC
          List the contract number of any                                  1615 South Congress Avenue, Suite 103
                government contract                                        Delray Beach, FL 33445


2.74.     State what the contract or        Merger Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Forum Merger III Corporation
          List the contract number of any                                  1615 South Congress Avenue, Suite 103
                government contract                                        Delray Beach, FL 33445


2.75.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Freedman Seating Company
          List the contract number of any                                  4545 W Augusta Blvd
                government contract                                        Chicago, IL 60651


2.76.     State what the contract or        Supplier NDA
          lease is for and the nature of
          the debtor's interest
                                                                           Freedman Seating Company
             State the term remaining                                      4545 W Augusta Blvd
                                                                           Chicago, IL 60651

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.77.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Gamut Capital Management, L.P.
          List the contract number of any                                  250 West 55th Street, 36th Floor
                government contract                                        New York, NY 10019


2.78.     State what the contract or        Separation agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Georgette G Dulworth
          List the contract number of any                                  1055 W Square Lake Road
                government contract                                        Troy, MI 48098


2.79.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Geotab Inc.
                                                                           2440 Winston Park Dr.
          List the contract number of any                                  Oakville, Ontario
                government contract                                        Canada


2.80.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Globocam
                                                                           155 Reverchon
          List the contract number of any                                  Pointe-Claire, QC
                government contract                                        Canada


2.81.     State what the contract or        Supplier Letter of
          lease is for and the nature of    Nomination
          the debtor's interest

             State the term remaining
                                                                           Glovis America, Inc.
          List the contract number of any                                  17305 Von Karman Ave, Suite 200
                government contract                                        Irvine, CA 92614




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.82.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           GPM Investments, LLC
          List the contract number of any                                  8565 Magellan Pkwy, Suite 400
                government contract                                        Richmond, VA 23227


2.83.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           H&L Reunion Investments, LLC
          List the contract number of any                                  1526 Corolla Ct.
                government contract                                        Reunion, FL 34747


2.84.     State what the contract or        Employment agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Hailiang Hu
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098


2.85.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Hamilton Managing General Agency, LLC
          List the contract number of any                                  400 Madison Avenue, Suite 16C
                government contract                                        New York, NY 10017


2.86.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Hampleton Ltd.
                                                                           Taunusanlage 8
          List the contract number of any                                  Frankfurt
                government contract                                        Germany


2.87.     State what the contract or        Invoice - Opportunity
          lease is for and the nature of    Assessment
          the debtor's interest
                                                                           Harbor Research Inc.
             State the term remaining                                      2601 Blake Street. Suite 100
                                                                           Denver, CO 80205

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.88.     State what the contract or        Services proposal
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           HCL Americas, Inc. (HCL)
          List the contract number of any                                  330 Potrero Ave
                government contract                                        Sunnyvale, CA 94085


2.89.     State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           HDI Specialty
          List the contract number of any                                  161 N Clark St FL 48
                government contract                                        Chicago, IL 60601-3213


2.90.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Hercules Electric Mobility, Inc.
          List the contract number of any                                  2785 E Grand Blvd
                government contract                                        Detroit, MI 48211


2.91.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Hilco Commercial Industrial, LLC
          List the contract number of any                                  5 Revere Drive, Suite 206
                government contract                                        Northbrook, IL 60062


2.92.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Himco Waste-Away Services, Inc.
          List the contract number of any                                  707 North Wildwood Ave
                government contract                                        Elkhart, IN 46514




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.93.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Hyundai Mobis Co., Ltd.
                                                                           203, Teheran-ro Gangnam-gu
          List the contract number of any                                  Seoul
                government contract                                        Korea


2.94.     State what the contract or        Conditions of Sale
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      IEE International Electronics & Engineer
                                                                           1 Rue de Campus
          List the contract number of any                                  7795 Bissen
                government contract                                        Luxembourg


2.95.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Innovative Vehicles
          List the contract number of any                                  3241 Benchmark Dr.
                government contract                                        Ladson, SC 29456


2.96.     State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           International Fleet Sales Inc.
          List the contract number of any                                  476 McCormick St.
                government contract                                        San Leandro, CA 94577


2.97.     State what the contract or        Service quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      InterRegs
                                                                           21-23 East Street
          List the contract number of any                                  Fareham, Hampshire
                government contract                                        UK


2.98.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest
                                                                           Interstate Battery of Fort Wayne
             State the term remaining                                      525 Ley Rd
                                                                           Fort Wayne, IN 46825

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.99.     State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Interstate Battery of Hickory
          List the contract number of any                                  3865 US Highway 321A Suite 580
                government contract                                        Hudson, NC 28645-0580


2.100.    State what the contract or        Settlement,
          lease is for and the nature of    Indemnification,
          the debtor's interest             Employment, and
                                            Consulting agreements
             State the term remaining
                                                                           James Taylor
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098


2.101.    State what the contract or        Settlement, NDA,
          lease is for and the nature of    Indemnification,
          the debtor's interest             Consulting, and
                                            Employment
                                            agreements
             State the term remaining
                                                                           Jason Luo
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098


2.102.    State what the contract or        Services proposal
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Jaydu
          List the contract number of any                                  5975 Shiloh Rd #114
                government contract                                        Alpharetta, GA 30005


2.103.    State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Jinzhou Jinheng Automotive Safety System
                                                                           No. 16, Section 4, Bohai St, Jinzhou economic and
          List the contract number of any                                  Liaoning
                government contract                                        China




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.104.    State what the contract or        Supplier NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Jinzhou Jinheng Automotive Safety System
                                                                           No. 16, Section 4, Bohai St, Jinzhou economic and
          List the contract number of any                                  Liaoning
                government contract                                        China


2.105.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Joe Lukens
          List the contract number of any                                  4381 W. Gulf Dr.
                government contract                                        Sanibel, FL 33957


2.106.    State what the contract or        Separation and
          lease is for and the nature of    Indemnification
          the debtor's interest             agreements

             State the term remaining
                                                                           Jonathan Ballon
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098


2.107.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Kearney (Shanghai) Enterprise Consulting
                                                                           Jinmao Tower, No. 88, Century Avenue,34th floor
          List the contract number of any                                  Pudong New Area, Shanghai
                government contract                                        China


2.108.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Kennedy Lewis Investment Management LLC
          List the contract number of any                                  111 W. 33rd Street, 19th Floor
                government contract                                        New York, NY 10120


2.109.    State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest
                                                                           Liberty Mutual
             State the term remaining                                      175 Berkeley Street
                                                                           Boston, MA 02116

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.110.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Lime Rock New Energy, L.P.
          List the contract number of any                                  274 Riverside Avenue, Suite 3
                government contract                                        Westport, CT 06880


2.111.    State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Liuzhou Wuling Automobile Industry Co.,
                                                                           Wuling Building, No. 18 Hexi Road
          List the contract number of any                                  Liuzhou City, Guangxi
                government contract                                        China


2.112.    State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Liuzhou Wuling Automobile Industry Co.,
                                                                           Wuling Building, No. 18 Hexi Road
          List the contract number of any                                  Liuzhou City, Guangxi
                government contract                                        China


2.113.    State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Liuzhou Wuling Automobile Industry Co.,
                                                                           Wuling Building, No. 18 Hexi Road
          List the contract number of any                                  Liuzhou City, Guangxi
                government contract                                        China


2.114.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Liuzhou Wuling Automobile Industry Co.,
                                                                           Wuling Building, No. 18 Hexi Road
          List the contract number of any                                  Liuzhou City, Guangxi
                government contract                                        China




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.115.    State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Lloyds Syndicate
          List the contract number of any                                  One Lime Street
                government contract                                        London UK


2.116.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Lytx, Inc.
          List the contract number of any                                  9785 Towne Centre Dr
                government contract                                        San Diego, CA 92121


2.117.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Magnum Security Services Inc
          List the contract number of any                                  601 S Bend Ave
                government contract                                        South Bend, IN 46617


2.118.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Marcum LLP
          List the contract number of any                                  730 Third Avenue
                government contract                                        New York, NY 10017


2.119.    State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Markel
          List the contract number of any                                  4521 Highwoods Parkway
                government contract                                        Glen Allen, VA 23060


2.120.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest
                                                                           Markel Service, Incorporated
             State the term remaining                                      4521 Highwoods Parkway
                                                                           Glen Allen, VA 23060

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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.121.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           MathWorks
          List the contract number of any                                  3 Apple Hill Drive
                government contract                                        Natick, MA 01760-2098


2.122.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Merchants Automotive Group, LLC
          List the contract number of any                                  14 Central Park Drive
                government contract                                        Hooksett, NH 03106


2.123.    State what the contract or        Safety Testing Quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           MGA Research Corporation
          List the contract number of any                                  5000 Warren Road
                government contract                                        Burlington, WI 53105


2.124.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Michigan Secretary of State
          List the contract number of any                                  1111 E Long Lake Rd
                government contract                                        Troy, MI 48085


2.125.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Midway Specialty Vehicles
          List the contract number of any                                  2940 Dexter Dr.
                government contract                                        Elkhart, IN 46514




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2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.126.    State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Miller Insurance
                                                                           19 W Market St.
          List the contract number of any                                  PO Box 445
                government contract                                        Jonestown, PA 17039


2.127.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Monarch Alternative Capital LP
          List the contract number of any                                  535 Madison Avenue, 26th Floor
                government contract                                        New York, NY 10022


2.128.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      MVSCS
                                                                           Box 66
          List the contract number of any                                  Selkirk, MB R1A 2B1
                government contract                                        Canada


2.129.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           National Fleet Services, LLC
          List the contract number of any                                  10100 Grinnell St.
                government contract                                        Detroit, MI 48213


2.130.    State what the contract or        Order form
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Nauto, Inc.
          List the contract number of any                                  360 Portage Ave
                government contract                                        Palo Alto, CA 94306


2.131.    State what the contract or        Director
          lease is for and the nature of    indemnification
          the debtor's interest             agreement
                                                                           Neil Goldberg
             State the term remaining                                      (redacted)


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Debtor 1 Electric Last Mile , Inc.                                                 Case number (if known)   22-10538 (MFW)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.132.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Nexus Business Solutions
          List the contract number of any                                  100 W. Big Beaver, Suite 200
                government contract                                        Troy, MI 48084


2.133.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Oaktree Capital Management, L.P.
          List the contract number of any                                  333 South Grand Ave., 28th Floor
                government contract                                        Los Angeles, CA 90071


2.134.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Optimal Electric Vehicles, LLC
          List the contract number of any                                  29449 Old US Hwy 33
                government contract                                        Elkhart, IN 46516


2.135.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Orion Motor Company Inc
          List the contract number of any                                  1159 W. Hill Rd
                government contract                                        Flint, MI 48507


2.136.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Orscheln Products LLC
          List the contract number of any                                  1177 N Morley St
                government contract                                        Moberly, MO 65270




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.137.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           OSC Solutions Inc.
          List the contract number of any                                  1100 North Point Pkwy
                government contract                                        West Palm Beach, FL 33407


2.138.    State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Packaging Concepts & Design
          List the contract number of any                                  234 East Maple Rd
                government contract                                        Troy, MI 48083


2.139.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Panasonic Corporation of North America
          List the contract number of any                                  2 Riverfront Plaza
                government contract                                        Newark, NJ 07102


2.140.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Papamarkou Wellner Asset Management
          List the contract number of any                                  430 Park Avenue, 17th Floor
                government contract                                        New York, NY 10022


2.141.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Phononic, Inc.
          List the contract number of any                                  800 Capitola Drive, Suite 7
                government contract                                        Durham, NC 27713


2.142.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest
                                                                           Pratt Miller Engineering and Fabrication
             State the term remaining                                      52900 Grand River Ave
                                                                           New Hudson, MI 48165

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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.143.    State what the contract or        Separation agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Praveen Cherian
          List the contract number of any                                  1055 W Square Lake Road
                government contract                                        Troy, MI 48098


2.144.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Premium Services, Inc.
          List the contract number of any                                  25899 W Twelve Mile Rd Suite 250
                government contract                                        Southfield, MI 48034


2.145.    State what the contract or        Supplier NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Prosco. Co., Ltd
                                                                           15-28,6gil, Dongtan-myeon
          List the contract number of any                                  Hwaseong-si, Gyeonggi-do
                government contract                                        Korea


2.146.    State what the contract or        Supplier LOI
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Prosco. Co., Ltd
                                                                           15-28,6gil, Dongtan-myeon
          List the contract number of any                                  Hwaseong-si, Gyeonggi-do
                government contract                                        Korea


2.147.    State what the contract or        Customer firm order
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                           Randy Marion Isuzu, LLC dba Randy Marion
          List the contract number of any                                  205 W Plaza Dr
                government contract                                        Mooresville, NC 28117




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.148.    State what the contract or        Customer dealer
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                           Randy Marion Isuzu, LLC dba Randy Marion
          List the contract number of any                                  205 W Plaza Dr
                government contract                                        Mooresville, NC 28117


2.149.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           REE Automotive Ltd.
          List the contract number of any                                  Kibbutz Glil-Yam, 4690500
                government contract                                        Israel


2.150.    State what the contract or        Director
          lease is for and the nature of    indemnification
          the debtor's interest             agreement

             State the term remaining
                                                                           Richard Peretz
          List the contract number of any                                  (redacted)
                government contract


2.151.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Riveron Consulting, LLC
          List the contract number of any                                  2515 McKinney Avenue, Suite 1200
                government contract                                        Dallas, TX 75201


2.152.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Rocknoo (RNL Technologoy)
                                                                           No. 02A, 10th Floor, Building 6, District 2, Shenz
          List the contract number of any                                  Nanshan District, Shenzhen
                government contract                                        China


2.153.    State what the contract or        Retention agreement
          lease is for and the nature of
          the debtor's interest
                                                                           Ronald Feldelsen
             State the term remaining                                      1055 W Square Lake Road
                                                                           Troy, MI 48098

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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.154.    State what the contract or        Sourcing Approval
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           RVS/Safefleet
          List the contract number of any                                  1797 Atlantic Ave
                government contract                                        Brooklyn, NY 11233


2.155.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           RVS/Safefleet
          List the contract number of any                                  1797 Atlantic Ave
                government contract                                        Brooklyn, NY 11233


2.156.    State what the contract or        Supplier NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Safe Fleet Acquisition Corp.
          List the contract number of any                                  6800 East 163rd Street
                government contract                                        Belton, MO 64012


2.157.    State what the contract or        LOI
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Samsong Industries Co. Ltd.
                                                                           1005 Jungwoo Building, 13-25 Youido-don Youngdeung
          List the contract number of any                                  Seoul
                government contract                                        Korea


2.158.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Security Benefit Life Insurance Company
          List the contract number of any                                  One Security Benefit Place
                government contract                                        Topeka, KS 66636




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.159.    State what the contract or        Employment and
          lease is for and the nature of    Director
          the debtor's interest             indemnification
                                            agreements
             State the term remaining
                                                                           Shauna McIntyre
          List the contract number of any                                  1055 W Square Lake Road
                government contract                                        Troy, MI 48098


2.160.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Sichuan Weiyu Electric Co., Ltd
                                                                           Tianyu Science Technology Park, No. 1, Tumenjiang
          List the contract number of any                                  Deyang City, Sichuan
                government contract                                        China


2.161.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Siemens Industry Software, Inc.
          List the contract number of any                                  PO box 2168
                government contract                                        Carol Stream, IL 60132


2.162.    State what the contract or        Supplier contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      SiRun (Wuxi) Technology Co. Ltd
                                                                           2501 Swan Tower, Wuxi Software Park
          List the contract number of any                                  Xinwu District, Wuxi City, Jiangsu Provi
                government contract                                        China


2.163.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           SKF USA Inc.
          List the contract number of any                                  890 Forty Food Road, P.O. Box 352
                government contract                                        Lansdale, PA 19446


2.164.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest
                                                                           Smart Mobility Office
             State the term remaining                                      6144 North Panasonic Way
                                                                           Denver, CO 80249

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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.165.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Star Global Consulting, Inc.
          List the contract number of any                                  1250 Borregas Avenue
                government contract                                        Sunnyvale, CA 94089


2.166.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Suzhou JDS Electric Technology., Ltd
                                                                           19 Xuqing Road
          List the contract number of any                                  Suzhou
                government contract                                        China


2.167.    State what the contract or        Sub-sublease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Tempo Interactive, Inc.,
          List the contract number of any                                  346 9th St
                government contract                                        San Francisco, CA 94103


2.168.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           The Dow Chemical Company
          List the contract number of any                                  2211 H. H. Dow Way
                government contract                                        Midland, MI 48641


2.169.    State what the contract or        Retention,
          lease is for and the nature of    Employment, and
          the debtor's interest             Indemnification
                                            agreements
             State the term remaining
                                                                           Thomas Dono
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.170.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Toyoda Gosei North American Corporation
          List the contract number of any                                  1400 Stephenson Highway
                government contract                                        Troy, MI 48083


2.171.    State what the contract or        Services contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Transcenda Consulting, Inc.
          List the contract number of any                                  330 HAMILTON ROW STE 300
                government contract                                        Birmingham, MI 48009


2.172.    State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Transportation Research Center Inc.
          List the contract number of any                                  10820 OH-347
                government contract                                        East Liberty, OH 43319


2.173.    State what the contract or        Insurance Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Travelers
          List the contract number of any                                  485 Lexington Avenue
                government contract                                        New York, NY 10017


2.174.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Truck Accessories Group
          List the contract number of any                                  28858 Ventra Drive
                government contract                                        Elkhart, IN 46517


2.175.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest
                                                                           TUR Partners, LLC
             State the term remaining                                      900 N. Michigan Ave., Suite 1720
                                                                           Chicago, IL 60611

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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.176.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           UBS Securities LLC
          List the contract number of any                                  1285 Avenue of the Americas
                government contract                                        New York, NY 10019


2.177.    State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Vector North America Inc
          List the contract number of any                                  39500 Orchard Hill Pl #400
                government contract                                        Novi, MI 48375


2.178.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           VIA Motors International, Inc
          List the contract number of any                                  165 Mountain Way Drive
                government contract                                        Orem, UT 84058


2.179.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Volta Trucks AB
                                                                           Olof Palmesgata 29, 4th Floor
          List the contract number of any                                  Stockholm, 111 22, Sweden 559204-5545
                government contract                                        Sweden


2.180.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Wejo Limited
                                                                           Building 21, ABC, 23 Quay St
          List the contract number of any                                  Manchester
                government contract                                        UK




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.181.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           WhiteHawk Capital Partners LP
          List the contract number of any                                  11601 Wilshire Blvd, Suite 1250
                government contract                                        Los Angeles, CA 90025


2.182.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           William Gibson
          List the contract number of any                                  196 New Gate Loop
                government contract                                        Lake Mary, FL 32746


2.183.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Wooshin Safety Systems Co. Ltd.
                                                                           295 Toseong-ro, Hyangnam-eup Hwaseong
          List the contract number of any                                  Gyeonggi
                government contract                                        Korea


2.184.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Workhorse Group, Inc.
          List the contract number of any                                  100 Commerce Drive
                government contract                                        Loveland, OH 45140


2.185.    State what the contract or        Supplier PO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Workiva
          List the contract number of any                                  2900 University Blvd
                government contract                                        Ames, IA 50010


2.186.    State what the contract or        Services quote
          lease is for and the nature of
          the debtor's interest                                            WUTEP
                                                                           Science and Technology Park, University of Science
             State the term remaining                                      Wuhan
                                                                           China

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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.187.    State what the contract or        NDA
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Xos, Inc.
          List the contract number of any                                  3550 Tyburn St.
                government contract                                        Los Angeles, CA 90065


2.188.    State what the contract or        Retention,
          lease is for and the nature of    Employment, and
          the debtor's interest             Indemnification
                                            agreements
             State the term remaining
                                                                           Yao (Rob) Song
          List the contract number of any                                  1055 W Square Lake Rd
                government contract                                        Troy, MI 48098




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 35 of 35
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Fill in this information to identify the case:

Debtor name      Electric Last Mile , Inc.

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)   22-10538 (MFW)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.2                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.3                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.4                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Electric Last Mile , Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)      22-10538 (MFW)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 22, 2022                   X /s/ Rob Song
                                                           Signature of individual signing on behalf of debtor

                                                            Rob Song
                                                            Printed name

                                                            CFO and Treasurer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
